Case 2:OO-cv-02666-SH|\/| Document 23 Filed 07/15/05 Page 1 of 2 Page|D 54

IN THE UNITED STATES DISTRIC'I‘ COURT hen BY __m_____ D.C.
FOR THE WESTERN DISTRICT OF TENNESSE§F

 

WESTER.N DIVISION 05 JUL 15 FH kg ‘5
“'K}NASM.GU.D
DAVID W. BECKER, G£UUS q'STKC§.§D\c-igm
Plaintiff, YNDO"`E |‘;\ \\'»..}F\)
VS' No. 00-2666-Ma

JO ANNE B. BARNHAR'I‘,
Commissioner of Social Security,

Defendant.

 

ORDER GRANTING MOTION FOR ATTORNEY FEES

 

Before the court is attorney John Scott Lykins’ June
29, 2005, unopposed motion for attorney fees pursuant to 42
U.S.C. § 406(b) in this matter. For good cause shown, the motion
is granted. Pursuant to the Equal Access to Justice Act (EAJA),
28 U.S.C. §2412, attorney fees are awarded to plaintiff’s
counsel, John Scott Lykins, in the amount of $15,798.00.

It is so ORDERED this ls*(éwy of July, 2005.

SAMUEL H. MAYS, JR.
UNI'I‘ED STA'I'ES DISTRICT COURT

 

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This notice confirms a copy of the document docketed as number 23 in
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Veronica F. Coleman

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

William W. Siler

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

John Scott Lykins

LAW OFFICE OF JOHN SCOTT LYKINS
4646 Poplar Ave.

Ste. 202

1\/lemphis7 TN 38117

Honorable Samuel Mays
US DISTRICT COURT

